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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA                 )
                                         )
      v.                                 )     Criminal Action No. 23-CR-61-MN
                                         )
ROBERT HUNTER BIDEN,                     )
                                         )
                       Defendant.        )

                        PROPOSED VERDICT FORM

      The government hereby moves the Court to consider the following Proposed

Verdict Form.


                                    Respectfully submitted,

                                     DAVID C. WEISS
                                     Special Counsel


                             By:     /s/
                                     Derek H. Hines
                                     Senior Assistant Special Counsel
                                     Leo J. Wise
                                     Principal Senior Assistant Special Counsel
                                     U.S. Department of Justice




Dated: May 28, 2024
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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA                      )
                                              )
           v.                                 )    Criminal Action No. 23-CR-61-MN
                                              )
ROBERT HUNTER BIDEN,                          )
                                              )
                             Defendant.       )

                                  JURY VERDICT FORM


      1.        As to Count One, charging the defendant with making a false statement

in connection with the acquisition of a firearm, we the jury find the defendant:


                ________ Guilty   ________ Not Guilty

      2.        As to Count Two, charging the defendant with making a false statement

with respect to information required to be kept in records, we the jury find the

defendant:


                ________ Guilty   ________ Not Guilty

      3.        As to Count Three, charging the defendant with possession of a firearm

by a person who is an unlawful user of or addicted to a controlled substance, we the

jury find the defendant:


                ________ Guilty   ________ Not Guilty

The foregoing constitutes the unanimous verdict of the jury.



      _____________________________                     ___________________
      PRESIDING JUROR                                   DATE


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